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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 MARCO DODA, DODA USA, INC., and      )
 DODA COSTRUZIONE MACCHINE            )
 AGRICOLE DI DODA ALDO E C. SNC.,     )
                                      )
                    Plaintiffs,       )
                                      )
       v.                             )               C.A. No. 17-604 (GMS)
                                      )
 WASTE MANAGEMENT, INC., WM           )
 INTELLECTUAL PROPERTY HOLDINGS, )
 LLC, WASTE MANAGEMENT NATIONAL )
 SERVICES, INC., and JAMES L. DENSON, )
 Jr.                                  )
                                      )
                    Defendants.       )

                  STIPULATION AND [PROPOSED] ORDER
       FOR DISMISSAL WITHOUT PREJUDICE OF CLAIMS I AND V OF THE
     FIRST AMENDED COMPLAINT TO THE EXTENT THOSE CLAIMS RELATE
        TO THE PENDING CHILD APPLICATION (THE ’021 APPLICATION)

                  Plaintiffs Marco Doda, Doda USA, Inc., and Doda Costruzione Macchine

 Agricole di Doda Aldo e C. snc., (hereinafter, collectively “Plaintiffs”) and Defendants Waste

 Management, Inc., WM Intellectual Property Holdings, LLC, Waste Management National

 Services, Inc., and James L. Denson, Jr., (hereinafter, collectively “Plaintiffs”) (collectively all

 parties being referred to as the “Parties”), by and through their respective counsel, hereby

 stipulate and agree as follows:

                  WHEREAS, Plaintiffs have brought claims as part of their First Amended

 Complaint (“FAC”) (D.I. 22) which, in part, seek to correct the inventorship/ownership pursuant

 to 35 U.S.C. § 256 (Count I), and/or declare unenforceable (Count V), U.S. Patent No. 8,926,841

 (the ‘841 Patent”), and the application from which it issued, U.S. Patent Application No.

 13/169,843 (the ‘843 Patent Application”), as well as any applications and patents issuing

 therefrom; and
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                WHEREAS, Defendants have disclosed that there is only one pending child

 application, U.S. Patent App. No. 15/435,021 (the “’021 Application” or the “pending child

 application”) relating to the ‘841 Patent and the ‘843 Application; and

                WHEREAS, Defendants brought a motion (D.I. 27) seeking dismissal of Counts I

 and V of Plaintiffs’ FAC insofar as those claims sought to correct inventorship and/or declare

 unenforceable the ‘021 Application, on grounds that the District Court lacks subject matter

 jurisdiction to correct inventorship or address the enforceability of a pending patent application;

 and

                WHEREAS, without waiving any argument, claim or defense relative to Counts I

 and V of the FAC in any other respect, the parties wish to stipulate to dismiss without prejudice

 Counts I and V of the FAC, but only to the extent they seek correction of inventorship, or declare

 unenforceable, the ‘021 Application.

                IT IS HEREBY STIPULATED

                Plaintiffs Marco Doda, Doda USA, Inc., and Doda Costruzione Macchine

 Agricole di Doda Aldo e C. snc., and Defendants Waste Management, Inc., WM Intellectual

 Property Holdings, LLC, Waste Management National Services, Inc., and James L. Denson, Jr.,

 subject to the approval of the Court, hereby stipulate that Counts I and V of the FAC may be, and

 hereby are, dismissed without prejudice, but only to the extent those Counts seek correction of

 inventorship, or declare unenforceable, the ‘021 Application. The Parties further stipulate that

 this dismissal is without an award of costs to either party, and without waiver by any party of any

 other argument, claim or defense relative to Counts I and V of the FAC, and specifically without

 any waiver by any party of any other argument, claim or defense relative to the inventorship,

 ownership, enforceability or validity of the ‘841 Patent or the ‘843 Application.



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 Dated: August 25, 2017

MORRIS JAMES LLP                               MORRIS, NICHOLS, ARSHT & TUNNELL
                                               LLP

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              SO ORDERED this ___ day of _________, 2017.


                                               The Honorable Gregory M. Sleet




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